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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA
Alexandria Division
PHILIP MORRIS PRODUCTS S.A.,
Plaintiff,
Vv. 1:20-cv-393 (LMB/TCB)

R.J. REYNOLDS VAPOR COMPANY,

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Defendant.
ORDER

In accordance with the Joint Stipulation for Supplemental Damages filed by the parties
on August 16, 2022 [Dkt. No. 1413], it is hereby

ORDERED that the Judgment entered on June 15, 2022 [Dkt. No. 1362] be and is
AMENDED to reflect a total judgment amount, including all prejudgment interest and
supplemental damages, of $10,906,042 for the ’265 Patent and $3,156,700 for the ’911 Patent.

The Clerk is directed to forward copies of this Order to counsel of record.

Entered this 1) day of August, 2022.

Alexandria, Virginia

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Leonie M. Brinkeina
United States District Judge

 
